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UNITED STATES DISTRICT COURT
FOR THE
WESTERN DIS'I`RICT OF TENNESSEE -
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UNITED STATES OF AMERICA
CR. N0.05-10033-T

VS.

MICHAEL RAMERIZ

APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
The United States Attorney’s Offlce applies to the Court for a Writ to have Michael Rarueriz, DOB
01-23-75, SSN XXX-XX-XXXX, now being detained in the Haywood County Jai}, Brownsville, Tennessee,

du TCGSUAY
appear before Magist'rate Thomas Anderson on the lj day of mA\i (5?.'(,0£¢?1), 2005 for an

 

Appearauce and for such other appearances as this Court may direct.

  
 
   

Respectfully submitted this 25th day of April, 2005.

 

   

i€ny R. Kite§€n
Assistant U. S. Attorney

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522 :D 99 CTJ
Upon consideration of the foregoing Application, David Jolley, U.S. Marshal, Weste@§%ct of§¢:'
29 "’
Tennessee, Memphis, TN Sheriff/Warden, Haywood County Jail, Brownsville, Tennessee.

YOU ARE HEREBY COMMANDED to have Michael Rameriz appear before the

Magistrate Thomas Anderson at the date and time aforementioned

ENTEREDthis £§'Mday of A-Lg,¢,..€ ,20@/ .

§§me @J

UNTI`ED STATES MAGISTRATE JUDGE

Thls document entered on the docket sheet In mp|iance
with sure 55 and;or az(b) Fnch on _§_)L§Z_T_D_S_

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CR-10033 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
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Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

